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1
                                   UNITED STATES DISTRICT COURT
2                                  FOR THE DISTRICT OF COLUMBIA
3
     UNITED STATES,                                )
4                                                  )
                            Plaintiff,             )       Criminal Case: 21-CR-392 (RCL)
5    vs.                                           )
                                                   )   MOTION TO ADOPT AND SUPPLEMENT
6                                                      MOTION TO SEVER DEFENDANTS
                                                   )
7    DEREK KINNISON,                               )
                                                   )
8                           Defendant.             )
                                                   )
9

10          Derek Kinnison, through undersigned counsel, respectfully requests that he be permitted
11   to join, adopt, and have the benefit of the Motion to Sever defendant Hostetter which was filed by
12   co-defendant Erik Warner (Dkt. 165). Mr. Kinnison’s request seeks to preserve this Court’s time
13   by avoiding a repetition of the law and arguments raised by Mr. Warner, all of which apply equally
14   to Mr. Kinnison.
15
            Still, uniquely applicable to Mr. Kinnison, Mr. Hostetter’s presence and arguments at trial
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     will confuse the jury and compromise Mr. Kinnison’s right to a fair trial for the following reasons:
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     Mr. Hostetter argues in his Motion to Sever (Dkt. 100) and in his Motion to Dismiss (Dkt. 99) that
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     Mr. Kinnison – whom he had never knowingly met or communicated with – played a part in the
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     government's conspiracy to connect Mr. Hostetter to the Three Percenters mentioned in the
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     indictment. In summary, Mr. Hostetter makes that connection by alleging that: (1) in the past Mr.
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     Hostetter wrote a check at a church fundraiser thus leaving a paper trail, (2) he unknowingly posed
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     for a “staged” photo with that church’s Senior Pastor who, being “an informant/operative/actor”,
23
     wore a jacket with a Three Percenter patch when the photo was taken, and (3) Mr. Kinnison
24
     attended the church which was led by that Senior Pastor. (Dkt. 100, Exhibit A, p.34-36). Ergo, Mr.
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     Kinnison must be part of the government’s vast conspiracy to connect Mr. Hostetter to the Three
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     Percenters. But Mr. Hostetter’s arguments do not even manage to be false because for that, they
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1    would have to have a misleading resemblance to truth. They are so incoherent and untethered from

2    reality that they fall short of even that modest goal and remain nothing but empty words.

3           Mr. Kinnison believes that Mr. Hostetter, acting as his own attorney, will raise at trial these
4    arguments (and others mentioned in his 82-page Motion to Dismiss) in an effort to cloud the legal
5    issues and confuse the jury. Mr. Kinnison should not have to simultaneously defend against felony
6    charges leveled by the government and against Mr. Hostetter’s conspiracy theories. Severance of
7    Mr. Hostetter is appropriate where, as here, “there is a serious risk that a joint trial would
8    compromise a specific trial right of one of the defendants, or prevent the jury from making a
9    reliable judgment about guilt or innocence." Zafiro v. United States, 506 U.S. 534, 539 (1993).
10          For the foregoing reasons and such other reasons that may appear just and proper,
11
     defendant Derek Kinnison, respectfully requests that his motion for severance be granted.
12

13      Date: February 20, 2023                    Respectfully submitted,
                                                   DEFENDANT DEREK KINNISON
14                                                 By Counsel.
15
                                                   s/Nicolai Cocis
16                                         BY:     ________________________________
                                                   Nicolai Cocis
17                                                 Law Office of Nicolai Cocis
                                                   25026 Las Brisas Rd.
18                                                 Murrieta, CA 92562
                                                   Tel: (951) 695-1400
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                                      CERTIFICATE OF SERVICE
1

2           The undersigned hereby certifies that on February 20, 2023, a true and correct copy of the

3    foregoing was electronically filed and served via the CM/ECF system, which will automatically
4    send electronic notification of such filing to all counsel and registered parties.
5

6                                                           s/ Nicolai Cocis
                                                            ______________________
7                                                           Law Offices of Nicolai Cocis
                                                            25026 Las Brisas Rd.
8
                                                            Murrieta, CA 92562
9                                                           Telephone: (951) 695-1400

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